                Case 2:17-cv-01298-JCC Document 2 Filed 08/28/17 Page 1 of 3



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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9
     ANDREA LISTER, in her individual capacity
10   and family,                                       No. 2:17-cv-1298

11                                Plaintiff,
                                                       KING COUNTY SUPERIOR COURT
12                 vs.                                 CAUSE NO. 17-2-14474-6 SEA

13   COS, PROSECUTORS, MARSHAL(S) TBA,                 VERIFICATION OF STATE COURT
     SEATTLE POLICE DEPT + OFFICERS TBA,               RECORDS
14   KING COUNTY ET, AL., KC
     PROSECUTORS, KC DAJD, EE'S
15   SARGENTS, CO'S, JOHN & JILL DOE(S),
     PUBLIC DEFENSE TBA,
16
                                  Defendants.
17

18                                             VERIFICATION

19         The undersigned hereby declares the following:

20         1.      The undersigned is counsel for defendant City of Seattle.

21         2.      Pursuant to LCR 101(b), attached are true and correct copies of all records and

22   proceedings in the Superior Court of King County, Washington, Cause No. 17-2-14474-6 SEA;

23


      VERIFICATION OF STATE COURT RECORDS - 1                                     Peter S. Holmes
                                                                                  Seattle City Attorney
                                                                                  701 5th Avenue, Suite 2050
                                                                                  Seattle, WA 98104-7097
                                                                                  (206) 684-8200
              Case 2:17-cv-01298-JCC Document 2 Filed 08/28/17 Page 2 of 3



 1       Exhibit       Document

 2       1             Summons and Complaint;

 3       2             Order Setting Civil Case Schedule;

 4       3.            Case Information Cover Sheet and Case Assignment Designation;

 5       4.            Motion and Declaration for Waiver of Civil Fees and Surcharges;

 6       5.            Order re Waiver of Civil Fees and Surcharges;

 7       6.            Notice of Appearance of David Hackett, Senior Deputy Prosecuting Attorney,
                       on behalf of Defendant King County; and
 8
         7.            King County Superior Court Docket, Cause No. 17-2-14474-6 SEA.
 9
         DATED this 28th day of August, 2017.
10
                                     PETER S. HOLMES
11                                   Seattle City Attorney

12
                                  By: /s/ Cherie Getchell
13                                    Cherie Getchell, WSBA# 49768
                                      Assistant City Attorney
14
                                      Seattle City Attorney’s Office
15                                    701 Fifth Avenue, Suite 2050
                                      Seattle, WA 98104
16                                    Phone: (206) 233-2158
                                      E-mail: Cherie.Getchell@seattle.gov
17
                                      Attorney for Defendant City of Seattle
18

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     VERIFICATION OF STATE COURT RECORDS - 2                                     Peter S. Holmes
                                                                                 Seattle City Attorney
                                                                                 701 5th Avenue, Suite 2050
                                                                                 Seattle, WA 98104-7097
                                                                                 (206) 684-8200
               Case 2:17-cv-01298-JCC Document 2 Filed 08/28/17 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE

 2          I certify that on the 28th day of August, 2017, I electronically filed the foregoing with the
     Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 3   following:
                                   David Hackett
 4                                 King County Prosecuting Attorney
                                   500 4th Avenue, 9th Floor
 5                                 Seattle, WA 98104
                                   Attorney for Defendant King County
 6
     and I hereby certify that I have mailed by United States Postal Service the document to the following
 7   non CM/ECF participant:

 8                                 Andrea Lister
                                   1728 E. Olive Street, #3-706
 9                                 Seattle, WA 98122
                                   Plaintiff Pro Se
10

11
                                   /s/ Cherie K. Getchell____
12                                 Cherie K. Getchell

13

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      VERIFICATION OF STATE COURT RECORDS - 3                                           Peter S. Holmes
                                                                                        Seattle City Attorney
                                                                                        701 5th Avenue, Suite 2050
                                                                                        Seattle, WA 98104-7097
                                                                                        (206) 684-8200
